        Case 3:17-cv-00072-NKM-JCH Document 962 Filed 06/07/21 Page 1 of 1 Pageid#: 16234
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                                                              Robert Cahill (Counsel for Plaintiffs)              703-456-8145
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   06/07/2021                                                   rcahill@cooley.com; ebolton@cooley.com
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Cooley LLP, 11951 Freedom Drive, 14th Floor                                                                    Reston, VA 20190
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                                                               /s/ Robert T. Cahill
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              Ifyouhaveanyquestions,pleasecontactthecourtreportercoordinatorat(434)847Ǧ5722
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